The plaintiff was given judgment, on an insurance policy issued by defendant, for damage by fire to the building insured. The facts, except as to parties and amounts recovered, are identical with those involved in Arnheim v. Firemen'sInsurance Company of Newark, New Jersey, ante, p. 468 [227 P. 676]. The appeal was submitted on the briefs in that case.
[1] For the reasons stated in the opinion in that case the judgment herein is affirmed.
A petition by appellant for a rehearing of this cause was denied by the district court of appeal on June 25, 1924, and *Page 800 
a petition by appellant to have the cause heard in the supreme court, after judgment in the district court of appeal, was denied by the supreme court on July 17, 1924.
All the Justices concurred.